Case 1:11-cv-07550-GBD-SN Document 320-10 Filed 02/22/20 Page 1 of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

~--X
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :

: MOTION TO PERMIT
ATTACHMENT AND
EXECUTION PURSUANT
TO 28 U.S.C. §1610(c)

03 MDL 1570 (GBD) (SN)

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This Document Relates to
Hoglan, et al. v. Iran, et al.
1:11-cv-07550 (GBD) (SN)

EXHIBIT HZ

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Case 1:11-cv-07550-GBD-SN Document 298 Filed O7F. BERS sp

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UNITED STATES DISTRICT COURT | pocé
SOUTHERN DISTRICT OF NEW YORK DATE FILED:
Hogan, et al.
Plaintiffs)
-v- CERTIFICATE OF MAILING
Islamic Republic of Iran, et al., Case No.: 1:11 ev 07550 (GBD) (SN)
Defendant(s) (:03 md 015 T0(GBp Xs wy)

I hereby certify under the penalties of perjury that on the 24 day of January , 2019 , I served:

Iran Airlines c/o HE Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of Iran, Ministry

of Foreign Affairs of the Islamic Republic of Iran, Imam Khomeini Avenue Tehran, Iran.

C] the individual of the foreign state, pursuant to the provisions of FRCP 4()2(c)(it).

C] the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

XX] the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U. 5.C,
§ 1608(a){4).

LJ the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

2 copy(ies) of the___See Attached Rider_by _Federal Express # 7742 0789 2460_.

Dated: New York, New York
01/24/2019

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Case 1:11-cv-07550-GBD-SN Document 298 Filed 01/24/19 Page 2 of 3

(1)

Rider

Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of Iran;
U.S. District Court for the Southern District of New York Clerk's Certificate of Default,
dated March 17, 2015 (Hoglan Docket No. 88);

Notice of Default Judgment prepared in accordance with 22 CFR § 93.2;

Order of Judgment Regarding Liability entered by U.S. District Judge George B. Daniels
on August 31, 2015 {MDL Docket No. 3027);

Findings of Fact and Conclusions of Law entered by U.S. District Judge George 8. Daniels
on August 31, 2015 (Hoglan Docket No. 111);

Report and Recommendation #1 by U.S. Magistrate Judge Sarah Netburn, dated October
12, 2016 (Hogian Docket No. 171);

Report and Recommendation #2 by U.S. Magistrate Judge Sarah Netburn, dated October
14, 2016 (Hogfan Docket No. 172);

Report and Recommendation #3 by U.S. Magistrate Judge Sarah Netburn, dated October
24, 2016 (MDL Docket No. 3374);

Partial Order and Judgment entered by U.S. District Judge George B. Daniels on October
31, 2016 {Hogian Docket No. 178);

Memorandum Decision and Order entered by U.S. District Judge George 8. Daniels on
October 34, 2016 {MDL Docket No. 3383);

Memorandum Decision and Order entered by U.S. District Judge George B. Daniels on
October 31, 2016 (MDL Docket No. 3384);

Memorandum Decision and Order entered by U.S. District Judge George B. Daniels on
June 21, 2017 (MDL Docket No. 3633);

Report and Recommendation #4 by U.S. Magistrate Judge Sarah Netburn, dated August
8, 2017 (Hoglan Docket No. 219);

Memorandum Decision and Order entered by U.S. District Judge George 8. Danieis on
November 17, 2017 {MDL Dacket No. 3795);

Final Order and Judgment on Compensatory Damages entered by U.S. District Judge
George B. Daniels on February 26, 2018 (MDL Docket No. 3905);

Text of the Foreign Sovereign Immunities Act, 28 U.S.C. §1602, et seq.;

Right to Appeal Notice;

Right to Appeal Form;

Certified Farsi translation of the above documents along with affidavit of translator; and
Letters of Rogatory

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Hogan, et al.
Plaintiff(s)
-V- CERTIFICATE OF MATLING
Islamic Republic of Iran, et al., Case No.: A Li cv O7S38 see) 2
Defendant(s) (G3 md GCIS7C CEP is iy?

Case 1:11-cv-07550-GBD-SN Document 299 Filed (7=="==Pageror |
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[ hereby certify under the penalties of perjury that on the 25 day of _January_, 2019 . I served:

Hezbollah c/o H.E Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of Iran, Ministry of

Foreign Affairs of the Islamic Republic of Iran, Imam Khomeini Avenue Tehran, Eran.

CJ the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)ii).

CI the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C,

§ 1608(a)(4).

CI the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

2 copy(ies) of the___ See Attached Rider by _Federal Express # 7742 0789 4040 _. E

Dated: New York, New York
01/25/2019

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_ Case 1:11-cv-07550-GBD-SN Document 299 Filed 01/25/19 Page 2 of 3 i

Rider |

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(17) Right to Appeal Notice;

{18} Right to Appeal Form;

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Certified Farsi translation of the above documents along with affidavit of translator; and
Letters of Rogatory

Case 1:11-cv-07550-GBD-SN Document 320-10 Filed 02/22/20 Page 8 of 9

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SOUTHERN DISTRICT OF NEW YORK DATE FILED:
Hogan et al.
CERTIFICATE OF MAILING
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I hereby certify under the penalties of perjury that on the 25_ day of January , 2019, I served:

National Iranian Tanker Corporation c/o HE. Mohammad Javad Zarif, Foreign Minister of the Islamic

Republic of Iran, Ministry of Foreign Affairs of the Islamic Republic of Iran, Imam Khomeini Avenue,

Tehran, Iran

LJ the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)(ii).

L] the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRD), U. S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the pr ovisions of the Foreign Sovereign Immunities Act, 28 U. 8.C.

§ 1608(a)(4).

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of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

2 __ copy(ies) of the See Attached Rider

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